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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


LIJIA E. GUEVARA,                   )
                                    )               Case No.: 2:22-cv-781-RMG
      Plaintiff,                    )
                                    )
v.                                  )
                                    )
                                    )                     COMPLAINT
VIVA FREIGHT GLOBAL LLC.,           )                   AND JURY DEMAND
GANISHER BEKMURADOV, AMAZON )
LOGISTICS, INC., AMAZON             )
LOGISTICS, LLC, AMAZON.COM, INC., )
AMAZON.COM SERVICES, LLC.,          )
AMAZON WEB SERVICE, INC., STI       )
HOLDINGS, INC., STOUGHTON           )
TRAILERS, LLC.                      )
                                    )
                                    )
      Defendants.                   )
___________________________________ )

       COMES NOW, Lijia E. Guevara, Plaintiff herein, and files her Complaint against

Defendants Viva Freight Global LLC (“Viva Freight”), Amazon Logistics, Inc., Amazon

Logistics, LLC, Amazon.com, Inc., Amazon.com Services, LLC, Amazon Web Services, Inc.,

(“Amazon Defendants”) STI Holdings, Inc., Stoughton Trailers, LLC, (“Stoughton Defendants”)

and Ganisher Bekmuradov (“Bekmuradov”) showing the Court as follows:

                              I. JURISDICTION AND VENUE

   1. Plaintiff is a resident of North Charleston, South Carolina.

   2. Defendant Viva Freight Global, LLC is an Ohio Limited Liability Corporation with its

       principal offices located in the State of Ohio. Defendant Viva Freight Global LLC ("Viva

       Freight") does not maintain a registered agent for service of process in the State of South

       Carolina and may be served through its registered agent for service of process in the State


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   of Ohio, Abdurakhmon Erkinov, 5009 Aravesto Avenue, Apartment 2, Boardman Ohio

   44512.

3. This Court has personal jurisdiction over Defendant Viva Freight under the South Carolina

   Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant Viva Freight has (1)

   transacted business within the State of South Carolina, (2) committed tortious acts and/or

   omissions within the State of South Carolina, (3) caused tortious personal injury to Plaintiff

   in the State of South Carolina, and (4) used the roadways of and/or within the State of

   South Carolina including the time at which its tortious acts and/or omissions caused injury

   to Plaintiff.

4. Defendant Viva Freight is subject to the jurisdiction of this Court because its acts and/or

   omissions are based upon substantial contacts with the State of South Carolina including,

   but not limited to:

       a. Engaging in a systematic pattern of business operations including the delivery and

            transport of goods within and through the State of South Carolina using the

            roadways of and within the State of South Carolina;

       b. Engaging in solicitation activities in the State of South Carolina to promote the sale,

            consumption, and use of its services;

       c. Conducting and engaging in substantial business and other activities, including

            interstate and intrastate commerce, in South Carolina by delivering and distributing

            products via its trucking operations.

5. Defendant Viva Freight has such sufficient minimum contacts with the State of South

   Carolina that are purposefully directed to the State of South Carolina that the filing of this

   action does not offend traditional notions of fair play and substantial justice.



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6. Upon information and belief Defendant Ganisher Bekmuradov is a resident of the

   Commonwealth of Pennsylvania and may be served with process at 10022 Ferndale Street,

   1st Floor, Philadelphia, Pennsylvania 19116.

7. This Court has personal jurisdiction over Defendant Bekmuradov under the South Carolina

   Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant Bekmuradov has (1)

   transacted business within the State of South Carolina, (2) committed tortious acts and/or

   omissions within the State of South Carolina, (3) caused tortious personal injury to Plaintiff

   in the State of South Carolina, and (4) used the roadways of and/or within the State of

   South Carolina including the time at which its tortious acts and/or omissions caused injury

   to Plaintiff.

8. Defendant Amazon Logistics, Inc. is a corporation formed under the laws of Delaware with

   principal offices in Seattle, Washington, and operates throughout the United States,

   including within this Judicial District. Defendant Amazon Logistics, Inc. does not maintain

   a registered agent for service of process in the State of South Carolina and may be served

   with process through its registered agent for service of process in the State of Washington,

   Corporation Service Company, 300 Deschutes Way SW, Ste. 208 MC-CSC1, Tumwater,

   Washington 98501.

9. This Court has personal jurisdiction over Defendant Amazon Logistics, Inc. under the

   South Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Amazon Logistics, Inc. has (1) transacted business and/or maintains a business presence

   within the State of South Carolina, (2) committed tortious acts and/or omissions within the

   State of South Carolina, (3) caused tortious personal injury to Plaintiff in the State of South




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   Carolina, and (4) used the roadways of and/or within the State of South Carolina including

   the time at which its tortious acts and/or omissions caused injury to Plaintiff.

10. Defendant Amazon Logistics, Inc. is subject to the jurisdiction of this Court because its

   acts and/or omissions are based upon substantial contacts with the State of South Carolina

   including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the warehousing,

           delivery, and transport of goods within and through the State of South Carolina

           using the roadways of and within the State of South Carolina;

       b. The warehousing of goods and products within the State of South Carolina;

       c. Engaging in solicitation activities in the State of South Carolina to promote the sale,

           consumption, and use of its services;

       d. Conducting and engaging in substantial business and other activities, including

           warehousing and interstate and intrastate commerce, in South Carolina by

           delivering and distributing products via its trucking operations.

11. Defendant Amazon Logistics, Inc. has such sufficient minimum contacts with the State of

   South Carolina that are purposefully directed to the State of South Carolina that the filing

   of this action does not offend traditional notions of fair play and substantial justice.

12. Amazon Logistics, LLC is a corporation formed under the laws of Delaware with principal

   offices in Seattle, Washington, and operates throughout the United States, including within

   this Judicial District. Defendant Amazon Logistics, LLC does not maintain a registered

   agent for service of process in the State of South Carolina and may be served with process

   through its registered agent for service of process in the State of Washington, Corporation




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   Service Company, 300 Deschutes Way SW, Ste. 208 MC-CSC1, Tumwater, Washington

   98501.

13. This Court has personal jurisdiction over Defendant Amazon Logistics, LLC under the

   South Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Amazon Logistics, LLC has (1) transacted business and/or maintains a business presence

   within the State of South Carolina, (2) committed tortious acts and/or omissions within the

   State of South Carolina, (3) caused tortious personal injury to Plaintiff in the State of South

   Carolina, and (4) used the roadways of and/or within the State of South Carolina including

   the time at which its tortious acts and/or omissions caused injury to Plaintiff.

14. Defendant Amazon Logistics, LLC is subject to the jurisdiction of this Court because its

   acts and/or omissions are based upon substantial contacts with the State of South Carolina

   including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the warehousing,

            delivery, and transport of goods within and through the State of South Carolina

            using the roadways of and within the State of South Carolina;

       b. The warehousing of goods and products within the State of South Carolina;

       c. Engaging in solicitation activities in the State of South Carolina to promote the sale,

            consumption, and use of its services;

       d. Conducting and engaging in substantial business and other activities, including

            warehousing and interstate and intrastate commerce, in South Carolina by

            delivering and distributing products via its trucking operations.




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15. Defendant Amazon Logistics, LLC has such sufficient minimum contacts with the State of

   South Carolina that are purposefully directed to the State of South Carolina that the filing

   of this action does not offend traditional notions of fair play and substantial justice.

16. Amazon.Com, Inc. is a corporation formed under the laws of Delaware with principal

   offices in Seattle, Washington, and operates throughout the United States, including within

   this Judicial District. Amazon.Com, Inc. maintains a registered agent for service of process

   in the State of South Carolina and may be served with process through its registered agent

   for service of process in the State of South Carolina, Corporation Service Company, 508

   Meeting Street, West Columbia, SC 29169.

17. This Court has personal jurisdiction over Defendant Amazon.Com, Inc. under the South

   Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Amazon.Com, Inc. has (1) transacted business and/or maintains a business presence within

   the State of South Carolina, (2) committed tortious acts and/or omissions within the State

   of South Carolina, (3) caused tortious personal injury to Plaintiff in the State of South

   Carolina, and (4) used the roadways of and/or within the State of South Carolina including

   the time at which its tortious acts and/or omissions caused injury to Plaintiff.

18. Defendant Amazon.Com, Inc. is subject to the jurisdiction of this Court because its acts

   and/or omissions are based upon substantial contacts with the State of South Carolina

   including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the warehousing,

           delivery, and transport of goods within and through the State of South Carolina

           using the roadways of and within the State of South Carolina;

       b. The warehousing of goods and products within the State of South Carolina;



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       c. Engaging in solicitation activities in the State of South Carolina to promote the sale,

           consumption, and use of its services;

       d. Conducting and engaging in substantial business and other activities, including

           warehousing and interstate and intrastate commerce, in South Carolina by

           delivering and distributing products via its trucking operations.

19. Defendant Amazon.Com, Inc. has such sufficient minimum contacts with the State of

   South Carolina that are purposefully directed to the State of South Carolina that the filing

   of this action does not offend traditional notions of fair play and substantial justice.

20. Amazon.Com Services, LLC is a limited liability company formed under the laws of

   Delaware with principal offices in Seattle, Washington, and operates throughout the United

   States, including within this Judicial District. Amazon.Com Services, LLC maintains a

   registered agent for service of process in the State of South Carolina and may be served

   with process through its registered agent for service of process in the State of South

   Carolina, Corporation Service Company, 508 Meeting Street, West Columbia, SC 29169.

21. This Court has personal jurisdiction over Defendant Amazon.Com Services, LLC under

   the South Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Amazon.Com Services, LLC has (1) transacted business and/or maintains a business

   presence within the State of South Carolina, (2) committed tortious acts and/or omissions

   within the State of South Carolina, (3) caused tortious personal injury to Plaintiff in the

   State of South Carolina, and (4) used the roadways of and/or within the State of South

   Carolina including the time at which its tortious acts and/or omissions caused injury to

   Plaintiff.




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22. Defendant Amazon.Com Services, LLC is subject to the jurisdiction of this Court because

   its acts and/or omissions are based upon substantial contacts with the State of South

   Carolina including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the warehousing,

              delivery, and transport of goods within and through the State of South Carolina

              using the roadways of and within the State of South Carolina;

       b. The warehousing of goods and products within the State of South Carolina;

       c. Engaging in solicitation activities in the State of South Carolina to promote the sale,

              consumption, and use of its services;

       d. Conducting and engaging in substantial business and other activities, including

              warehousing and interstate and intrastate commerce, in South Carolina by

              delivering and distributing products via its trucking operations.

23. Defendant Amazon.Com Services, LLC has such sufficient minimum contacts with the

   State of South Carolina that are purposefully directed to the State of South Carolina that

   the filing of this action does not offend traditional notions of fair play and substantial

   justice.

24. Amazon Web Services, Inc. is a corporation formed under the laws of Delaware with

   principal offices in Seattle, Washington, and operates throughout the United States,

   including within this Judicial District. Defendant Amazon Web Services, Inc. does not

   maintain a registered agent for service of process in the State of South Carolina and may

   be served with process through its registered agent for service of process in the State of

   Washington, Corporation Service Company, 300 Deschutes Way SW, Ste. 208 MC-CSC1,

   Tumwater, Washington 98501.



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25. This Court has personal jurisdiction over Defendant Amazon Web Services, Inc. under the

   South Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Amazon Web Services, Inc. has (1) transacted business and/or maintains a business

   presence within the State of South Carolina, (2) committed tortious acts and/or omissions

   within the State of South Carolina, (3) caused tortious personal injury to Plaintiff in the

   State of South Carolina, and (4) used the roadways of and/or within the State of South

   Carolina including the time at which its tortious acts and/or omissions caused injury to

   Plaintiff.

26. Defendant Amazon Web Services, Inc. is subject to the jurisdiction of this Court because

   its acts and/or omissions are based upon substantial contacts with the State of South

   Carolina including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the warehousing,

           delivery, and transport of goods within and through the State of South Carolina

           using the roadways of and within the State of South Carolina;

       b. The warehousing of goods and products within the State of South Carolina;

       c. Engaging in solicitation activities in the State of South Carolina to promote the sale,

           consumption, and use of its services;

       d. Conducting and engaging in substantial business and other activities, including

           warehousing and interstate and intrastate commerce, in South Carolina by

           delivering and distributing products via its trucking operations.

27. Defendant Amazon Web Services, Inc. has such sufficient minimum contacts with the State

   of South Carolina that are purposefully directed to the State of South Carolina that the

   filing of this action does not offend traditional notions of fair play and substantial justice.



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28. STI Holdings, Inc. is a corporation formed under the laws of Wisconsin with principal

   offices in Stoughton, Wisconsin, and operates throughout the United States, including

   within this Judicial District. Defendant STI Holdings, Inc. does maintain a registered agent

   for service of process in the State of South Carolina and may be served with process

   through its registered agent for service of process in the State of South Carolina, to

   registered agent, Brian Copeland, 550 Corey Mill Road, Lexington, SC, 29072.

29. This Court has personal jurisdiction over Defendant STI Holdings, Inc. under the South

   Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant STI has (1)

   transacted business and/or maintains a business presence within the State of South

   Carolina, (2) committed tortious acts and/or omissions within the State of South Carolina,

   (3) caused tortious personal injury to Plaintiff in the State of South Carolina, and (4) used

   the roadways of and/or within the State of South Carolina including the time at which its

   tortious acts and/or omissions caused injury to Plaintiff.

30. Defendant STI Holdings, Inc. is subject to the jurisdiction of this Court because its acts

   and/or omissions are based upon substantial contacts with the State of South Carolina

   including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the leasing of

           trailers in the State of South Carolina using the roadways of and within the State of

           South Carolina;

       b. Engaging in solicitation activities in the State of South Carolina to promote the sale,

           consumption, and use of its services;

       c. Conducting and engaging in substantial business and other activities, including

           leasing trailers for interstate and intrastate commerce, in South Carolina.



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31. Defendant STI Holdings, Inc. has such sufficient minimum contacts with the State of South

   Carolina that are purposefully directed to the State of South Carolina that the filing of this

   action does not offend traditional notions of fair play and substantial justice.

32. Stoughton Trailers, LLC is a limited liability company formed under the laws of Wisconsin

   with principal offices in Stoughton, Wisconsin, and operates throughout the United States,

   including within this Judicial District. Defendant Stoughton Trailers, LLC does not

   maintain a registered agent for service of process in the State of South Carolina and may

   be served with process through its registered agent for service of process in the State of

   Wisconsin, Richard G. Raymond, 416 S Academy St., Stoughton, Wisconsin 53589.

33. This Court has personal jurisdiction over Defendant Stoughton Trailers, LLC under the

   South Carolina Long-Arm Statute, S.C. Code Ann. § 36-2-803, because Defendant

   Stoughton Trailers, LLC has (1) transacted business and/or maintains a business presence

   within the State of South Carolina, (2) committed tortious acts and/or omissions within the

   State of South Carolina, (3) caused tortious personal injury to Plaintiff in the State of South

   Carolina, and (4) used the roadways of and/or within the State of South Carolina including

   the time at which its tortious acts and/or omissions caused injury to Plaintiff.

34. Defendant Stoughton Trailers, LLC is subject to the jurisdiction of this Court because its

   acts and/or omissions are based upon substantial contacts with the State of South Carolina

   including, but not limited to:

       a. Engaging in a systematic pattern of business operations including the leasing of

           trailers in the State of South Carolina using the roadways of and within the State of

           South Carolina;




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       b. Engaging in solicitation activities in the State of South Carolina to promote the sale,

           consumption, and use of its services;

       c. Conducting and engaging in substantial business and other activities, including

           leasing trailers for interstate and intrastate commerce, in South Carolina.

35. Defendant Stoughton Trailers, LLC has such sufficient minimum contacts with the State

   of South Carolina that are purposefully directed to the State of South Carolina that the

   filing of this action does not offend traditional notions of fair play and substantial justice.

36. This District Court has subject matter jurisdiction to entertain this action pursuant to 28

   U.S.C. § 1332 based upon complete diversity of citizenship of the parties and because the

   amount in controversy exceeds $75,000.

37. Venue is proper in South Carolina and in this Division because a substantial part of the

   events and omissions giving rise to this claim occurred in South Carolina and in this

   Division.

                              II. FACTUAL ALLEGATIONS

38. Plaintiff re-alleges and incorporates herein by reference all allegations in paragraphs 1

   through 37 as if fully alleged herein.

39. All listed Amazon entities are liable and are hereinafter referred to as “Amazon

   Defendants.” At all relevant times hereto, Amazon Defendants comprise the world’s largest

   e-commerce company.

40. At all relevant times hereto, Amazon Defendants leased the trailer in question from STI

   Holdings, Inc. and Stoughton Trailers, LLC (“Stoughton Defendants”). The trailer

   displayed a "Stoughton Lease" label prominently on the rear of the trailer along with the

   Stoughton Lease website address, "stoughtonlease.com."



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41. Amazon Defendants advertise for and contract with delivery partners for the transportation

   of Amazon goods between warehousing locations, including between Amazon warehouse

   locations, as part of its freight operations, using the website “Amazon Freight” at

   https://freight.amazon.com/.

42. Amazon Defendants use the “Amazon Freight” website to direct motor carriers to a

   program called “Relay” where a motor carrier that owns/leases its own trucks can work

   with Amazon Defendants by hauling Amazon trailers full of Amazon product between

   suppliers, distributors, and warehouses.

43. Amazon “Relay” boasts short-term contracts for motor carriers, the ability to “post trucks”

   so that Amazon “Relay” matches the truck with an available load, and a “Load Board”

   where motor carriers can see a selection of exclusive work across Amazon’s entire freight

   network, with the ability to instantly book at https://relay.amazon.com/.



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44. Amazon “Relay” has a “Getting Started” page that requires motor carriers to have the

   following:

       a. An active DOT number with interstate authority and a valid MC number

       b. A “Carrier” entity type that is authorized for Property and for Hire

       c. A Federal Motor Carrier Safety Administration (FMCSA) Safety Rating of

          “Satisfactory,” “None,” or “Not Rated”

       d. All required insurance policies including:

                 i. Commercial General Liability not less than $1,000,000 per occurrence and

                    $2,000,000 in the aggregate

                ii. Auto Liability not less than $1,000,000 per occurrence, including a trailer

                    replacement coverage of $50,000

                iii. Cargo coverage of at least $100,000

                iv. Workers’ Compensation insurance in all jurisdictions where your company

                    operates

                v. Employer Liability not less than $100,000 per occurrence

45. To monitor carrier compliance, Amazon “Relay” states that it uses a variety of tools,

   internal compliance teams, and third-party compliance monitoring service to monitor

   continuous compliance.

46. The Amazon “Relay” App has multiple features including, but not limited to, finding,

   booking and executing Amazon loads, assigning drivers, accessing Amazon’s Relay

   Board, tracking performance, viewing and downloading payment details, and reporting

   issues to Amazon.




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47. The “Relay” App further allows drivers to view and manage load status, report delays, and

   use “trucker friendly commercial navigation.” Amazon “Relay” requires drivers to use

   Amazon “Relay” products for all Amazon loads.

48. At some time prior to May 20, 2021, the date of the collision at issue, Amazon Defendants

   contracted with Defendant Viva Freight as part of the “Relay” system, among other ways,

   for Defendant Viva Freight to pull/haul an Amazon semi-trailer from one location to

   another.

49. Amazon Defendants entrusted its trailer to Defendant Viva Freight to haul Amazon

   products interstate.

50. At all times material hereto, Defendant Viva Freight's multiple Federal Motor Carrier

   Safety Act ("FMCSA") violations were available for Amazon Defendants to inspect.

51. Amazon Defendants failed to inspect Defendant Viva Freight's USDOT information prior

   to entrusting Defendant Viva Freight with its trailer.

52. Amazon Defendants failed to inspect Defendant Viva Freight's USDOT information prior

   to entrusting Defendant Viva Freight with jobs to haul Amazon products.

53. On May 20, 2021, Defendant Bekmuradov was acting within the course and scope of his

   employment with Defendant Global Freight and driving a tractor owned by Defendant Viva

   Freight and was headed eastbound on Interstate 26 near mile marker 211 in North

   Charleston, South Carolina.

54. At this time and continuing through the time of the collision at issue, Defendant Viva

   Freight’s tractor, driven by Defendant Bekmuradov, was hauling a trailer with the Amazon

   logo on its sides and bearing an Amazon tracking identifier starting with AZNG.




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55. At this time and continuing through the time of the collision at issue, Defendant

   Bekmuradov and Defendant Viva Freight were utilizing and/or under dispatch of the

   Amazon Relay system, and in use of the Amazon Relay app, or were otherwise under the

   dispatch of Amazon.

56. At the same time, Plaintiff was driving in a lawful, careful and prudent manner and stopped

   facing eastbound on Interstate 26 due to traffic ahead of her.

57. While Plaintiff was stopped for traffic ahead of her, Defendant Bekmuradov failed to stop

   his tractor-trailer and collided into the rear of Plaintiff’s vehicle.

58. The collision between Defendant Bekmuradov’s tractor-trailer and Plaintiff’s vehicle

   forced Plaintiff’s vehicle forward such that it caused a collision between several other

   vehicles.

59. As a result of the collision caused by Defendant Bekmuradov, Plaintiff suffered severe,

   permanent, and life-altering injuries.

60. At all times relevant hereto, Defendant Bekmuradov was an employee, agent, and legal

   representative of Defendant Viva Freight, LLC, and acting in the course and scope of his

   employment.

61. At all times relevant hereto, Defendant Viva Freight, LLC was working under the control

   of the Amazon “Relay” App promulgated by Amazon Defendants, or was otherwise under

   the control and dispatch of Amazon Defendants

                                  III. CAUSES OF ACTION

    COUNT I – NEGLIGENCE & NEGLIGENCE PER SE – DEFENDANT VIVA
     FREIGHT GLOBAL, LLC & DEFENDANT GANISHER BEKMURADOV

62. Plaintiff re-alleges and incorporates herein by reference all allegations in paragraphs 1

   through 61 as if fully alleged herein.

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63. At all relevant times, Defendant Bekmuradov was a Class A licensed commercial vehicle

   operator driving the tractor-trailer in the course and scope of his employment with

   Defendant Viva Freight.

64. At all times relevant, Defendant Bekmuradov was driving his tractor-trailer within the

   course and scope of his agency relationship with Defendant Amazon.

65. Defendant Bekmuradov owed duties to Plaintiff and others to exercise due care in the

   operation of his tractor-trailer while on the interstates and roadways of the State of South

   Carolina.

66. Defendant Bekmuradov breached his duties owed in one or more of the following several

   ways:

       a. Failing to observe Plaintiff’s vehicle was stopped on Interstate 26 due to traffic

           conditions, when it was at all times in plain and unobstructed view;

       b. Failing to maintain proper control of his tractor and trailer;

       c. Failing to stop, slow, or swerve his vehicle after he knew, or should have known

           that there was a reasonable degree of certainty that he would collide into the vehicle

           in which the Plaintiff was riding;

       d. Violating S.C. Code Ann. § 50-05-1520(A) by driving at an excessive speed and

           failing to maintain a speed that is reasonable and prudent;

       e. By following too closely in violation of S.C. Code Ann. § 56-5-1930;

       f. Failing to use the degree of care and caution which a reasonable person under the

           same or substantially similar circumstances would have used by failing to pay

           attention to the road while operating a commercial vehicle;




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       g. Driving his commercial motor vehicle in a manner to indicate reckless, willful,

           wanton, grossly negligent and negligent disregard for the safety of others;

       h. Violating several Federal Motor Carrier Safety Administration (“FMCSA”)

           Regulations including, but not necessarily limited to, 49 C.F.R. § 392.2, 49 C.F.R.

           § 383, 49 C.F.R. § 383.71, 49 C.F.R. § 390, 49 C.F.R. § 392, 49 C.F.R. § 395; and,

       i. Being otherwise negligent and careless in the operation of a tractor-trailer.

67. As a direct and proximate result of Defendant Bekmuradov’s negligent acts and omissions,

   Plaintiff suffered severe and life altering injuries which have been and will continue to be

   accompanied by physical and mental pain and suffering.

68. Defendants Viva Freight and Amazon Defendants are each vicariously liable for Defendant

   Bekmuradov’s negligent acts and omissions under the doctrine of respondeat superior.

 COUNT II – NEGLIGENT ENTRUSTMENT – DEFENDANT VIVA FREIGHT
                         GLOBAL, LLC

69. Plaintiff re-alleges and incorporates herein by reference all allegations in paragraphs 1

   through 68 as if fully alleged herein.

70. At the time of the collision at issue and all times prior, Defendant Bekmuradov was

   improperly and/or deficiently trained, unqualified, and/or incapable of operating a

   commercial motor vehicle safely and in compliance with applicable laws and regulations

   including the laws of the State of South Carolina and the rules and regulations promulgated

   by the Federal Motor Carrier Safety Administration.

71. At times prior to the collision at issue, Defendant Viva Freight knew or should have known

   of Defendant Bekmuradov’s improper and/or deficient training, lack of qualifications, and

   incapability of operating a commercial motor vehicle safely and in conformity with

   applicable laws, rules, and regulations.

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72. Defendant Viva Freight, despite having the above knowledge, entrusted a semi-tractor

   Defendant Bekmuradov.

73. As a direct, foreseeable, and proximate result of the aforesaid negligent, grossly negligent,

   reckless, willful and wanton acts and/or omissions of the Defendant Viva Freight in

   entrusting a semi-tractor to Defendant Bekmuradov, Plaintiff suffered severe and life

   altering injuries which have been and will continue to be accompanied by physical and

   mental pain and suffering.




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     COUNT III – NEGLIGENT HIRING, SUPERVISION, AND RETENTION –
                 DEFENDANT VIVA FREIGHT GLOBAL, LLC

74. Plaintiff re-alleges and incorporates herein by reference all allegations in paragraphs 1

   through 73 as if fully alleged herein.

75. At all times material hereto, Defendant Viva Freight was a for hire motor carrier operating

   under the authority of the United States Department of Transportation (“USDOT”).

76. As such, Defendant Viva Freight owed the Plaintiff and others a duty to not negligently

   hire, supervise, and retain employees.


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77. At all relevant times, Defendant Viva Freight’s vehicle was a commercial vehicle as is

   defined by S.C. Code Ann. § 56-1-2030 and was being operated under the control and

   USDOT authority of Defendant Viva Freight.

78. At the time of the crash, Defendant Viva Freight was the registered owner of the 2016

   Volvo Tractor with VIN # 4V4NC9EH8GN938071 bearing license plate # AH03122,

   which was involved in this accident.

79. In applying for and maintaining operating authority as a motor carrier, Defendant Viva

   Freight certified to the USDOT that it would:

       a. Have in place a system and an individual responsible for ensuring overall

          compliance with the FMCSA regulations;

       b. Have in place a driver safety training/orientation program;

       c. Be familiar with DOT regulations governing driver qualifications and have in place

          a system for overseeing driver qualification requirements (49 C.F.R. §391);

       d. Have in place policies and procedures consistent with DOT regulations governing

          driving and operational safety of motor vehicles, including drivers’ hours of service

          and vehicle inspection, repair and maintenance; and,

       e. Comply with all pertinent Federal, State, local and regulatory requirements when

          operating within the United States.

80. Defendant Viva Freight knew or should have known that Defendant Bekmuradov’s lack of

   training and inability to comply with the FMCSA regulations and state laws made him an

   unfit candidate to operate a commercial motor vehicle.




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81. Defendant Viva Freight had a duty to ensure that its drivers and vehicles were reasonable

   safe and complied with all pertinent laws and industry standards concerning the safe

   operating of commercial vehicles.

82. Defendant Viva Freight breached this duty, and was therefore negligent, in one or more of

   the following several ways:

       a. Failing to properly train Defendant Bekmuradov on safe driving procedure, keeping

           a proper looking, maintaining a safe distance from other vehicles, and driving at

           safe speeds for traffic flow in violation of 49 C.F.R. §383.111;

       b. Failing to ensure that Defendant Bekmuradov operated the commercial motor

           vehicle in a safe manner and abided by all laws governing the safe operation of

           commercial motor vehicles, in violation of 49 C.F.R § 392.1;

       c. Failing to properly supervise Defendant Bekmuradov and identify driving behavior

           and safety procedures for road conditions where traffic has come to a complete

           stop, that could have been implemented to avoid this collision; and

       d. Failing to follow USDOT requirements applicable to commercial motor vehicles

           like that driven by Defendant Bekmuradov.

83. Despite Defendant Viva Freight’s above knowledge, Viva Freight continued to employ and

   dispatch Defendant Bekmuradov and entrusted the motor vehicle, dispatch and trailer load

   to Defendant Bekmuradov the day of the collision at issue.

84. Defendant Viva Freight’s negligent conduct violated laws intended to protect individuals

   like the Plaintiff and prevent collisions with vehicles.

85. Defendant Viva Freight’s negligence is a direct and proximate cause of Plaintiff’s injuries

   and damages.



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COUNT IV – NEGLIGENT ENTRUSTMENT AND NEGLIGENT HIRING – AMAZON
    LOGISTICS, INC., AMAZON LOGISTICS, LLC., AMAZON.COM, INC.,
     AMAZON.COM, SERVICES, LLC., AMAZON WEB SERVICES, INC.

 86. Plaintiff re-alleges and incorporates herein by reference all allegations in paragraphs 1

    through 85 as if fully alleged herein.

 87. As an entity engaged in the transportation of goods and subject to Federal Motor Carrier

    Safety Administration rules and regulations, Amazon Defendants had a duty to investigate

    the motor carriers that it was hiring before allowing the motor carrier to transport its

    products.

 88. Amazon Defendants acted as a “motor carrier” pursuant to S.C. Code Ann. § 58-23-

    1110(5).

 89. Amazon Defendants directly and knowingly hired Defendant Viva Freight through the

    Amazon “Relay” platform.

 90. Amazon Defendants had to enter into a contract with Viva Freight before Viva Freight

    could obtain an Amazon trailer and haul loads for Amazon.

 91. Prior to the collision and Amazon Defendants contracting with Defendant Viva Freight,

    Defendant Viva Freight demonstrated through its FMCSA safety violations that it has a

    pattern of acting negligently and unsafely.




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92. Defendant Viva Freight’s recorded safety violations were available publicly upon

   reasonable investigation and inspection of Viva Freight’s FMSCA record.

93. Defendant Amazon breached its duties owed by failing to do a public FMCSA search of

   Defendant Viva Freight’s USDOT number to confirm or deny whether Defendant Viva

   Freight was fit for interstate and/or intrastate transportation of Amazon products.

94. Amazon Defendants failed to comply with its own rules and policies by hiring Viva Freight

   where Amazon required one-million ($1,000,000) in coverage. Viva Freight also failed to

   carry the minimum two-million dollars ($2,000,000) aggregate amount of coverage.

95. Amazon Defendants negligently contracted with and/or hired and/or retained Defendant

   Viva Freight as a freight partner and negligently entrusted Defendant Viva Freight to

   pull/haul Amazon’s semi-trailers, including the one being pulled/hauled by Defendant

   Bekmuradov at the time of the collision with Plaintiff.

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96. Amazon Defendants’ negligent acts and/or omissions in contracting with, hiring, and/or

   retaining Defendant Viva Freight and/or Defendant Bekmuradov is a direct and proximate

   cause of Plaintiff’s injuries and damages.

97. Amazon Defendants use of its “Relay” platform and failure to adequately investigate the

   motor carriers and/or drivers it contracted with, hired, and/or otherwise partnered with,

   including Defendants Viva Freight and Bekmuradov, for the movement of Amazon

   products constitutes negligent, grossly negligent and wanton behavior because a reasonable

   investigation would have revealed Defendant Viva Freight’s numerous safety violations.

98. Instead, Amazon Defendants failed to realize and consider well-known logistics industry

   safety concepts and instead chose profits over basic safety for the public when it contracted

   with Defendants Viva Freight and Bekmuradov and entrusted to them Amazon’s semi-

   trailer.

99. Amazon Defendants’ negligent acts and omissions are a direct and proximate cause of

   Plaintiff’s injuries and damages.

  COUNT V – VICARIOUS LIABILITY – AMAZON LOGISTICS, INC., AMAZON
   LOGISTICS, LLC., AMAZON.COM, INC., AMAZON.COM SERVICES, LLC.,
                     AMAZON WEB SERVICES, INC.

100.          Plaintiff re-alleges and incorporates herein by reference all allegations in

   paragraphs 1 through 99 as if fully alleged herein.

101.          On information and belief, Amazon Defendants had a custom and practice of

   engaging motor carriers to perform interstate freight hauling of Amazon products.

102.          Amazon Defendants utilized their Relay App to engage motor carriers, such as

   Defendant Viva Freight.

103.          Defendant Viva Freight utilized the Amazon Relay App, among other applications

   and programs, to become a motor carrier for Amazon Defendants.

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104.      Defendant Viva Freight was supposed to meet all necessary requirements on the

   Amazon Relay App in order to haul freight for Amazon Defendants.

105.      At all times material hereto, Defendant Viva Freight utilized Amazon Defendants’

   trailer to haul the Amazon materials.

106.      Amazon      Defendants    monitored    Defendant   Viva    Freight's   compliance,

   performance, and any reported issues through the Amazon Relay App, among other

   applications and programs.

107.      Defendant Viva Freight could not complete any jobs for Amazon Defendants

   without utilizing the Amazon Relay App, or other applications and programs.

108.      Defendant Viva Freight operated the Amazon trailer under the consent and control

   of Amazon Defendants.

109.      Amazon Defendants exercised sufficient control over Defendant Viva Freight

   through the Amazon Relay App, and other applications and programs, that Amazon

   Defendants are vicariously liable for the negligence of Defendant Viva Freight.

       COUNT VI – NEGLIGENT ENTRUSTMENT – STI HOLDINGS, INC.,

                            STOUGHTON TRAILERS, LLC.

110.      Plaintiff re-alleges and incorporates herein by reference all allegations in

   paragraphs 1 through 109 as if fully alleged herein.

111.      At all times material hereto, STI Holdings, Inc. and Stoughton Trailers, LLC

   (“Stoughton Defendants”) engaged in a business of leasing trailers to Amazon Defendants.

112.      As an entity engaged in leasing equipment for the interstate transport of goods,

   Stoughton Defendants are subject to Federal Motor Carrier Safety Administration rules and

   regulations.


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113.       Stoughton Defendants breached these rules and regulations by failing to maintain

   careful practices or procedures to ensure that Amazon Defendants were monitoring who

   operated the trailers.

114.       Stoughton Defendants entered into contracts with Amazon Defendants without

   ensuring Amazon Defendants had a proper system in place to ensure safe operation of the

   equipment.

115.       Amazon Defendants allowed motor carriers with an extensive history of FMCSA

   violations to operate the trailers.

116.       Stoughton Defendants knew or should have known that Amazon Defendants did

   not adequately evaluate the motor carriers they allowed to haul Amazon loads using

   Stoughton trailers.

117.       Stoughton Defendants negligently entrusted Amazon Defendants with their

   equipment without ensuring that the trailers would be operated in a safe manner.

118.       Stoughton Defendants’ acts and/or omissions in entrusting Amazon Defendants

   with Stoughton equipment is a direct and proximate cause of Plaintiff’s injuries and

   damages.

                            COUNT VII - INJURIES AND DAMAGES


119.       Plaintiff re-alleges and incorporates by reference paragraphs 1 through 118 as if

   fully stated herein.

120.       As a direct and proximate result of the negligence and negligence per se of

   Defendants, laid out above, Plaintiff suffered mental and physical injuries requiring

   extensive medical treatment, as well as other economic and noneconomic damages.




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   121.        Based on the foregoing, Plaintiff has incurred medical expenses, and will continue

       to incur medical expenses for her injuries in the future.

   122.        As a direct and proximate result of the negligence and negligence per se of

       Defendants, Plaintiff is entitled to recover all special damages in a full amount to be proved

       at trial, which currently includes, but is not limited to current medical bills totaling over

       $455,636.11.

   123.        As a direct and proximate result of the negligence and negligence per se of

       Defendants, Plaintiff is entitled to recover general damages including but not limited to

       Plaintiff’s mental and physical pain and suffering and loss of capacity to enjoy life, past,

       present, and future.

                                     DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury as to all issues so triable.

                                         PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendants for actual and punitive

damages, the costs of this action, and such other and further relief as the Court may allow.




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 This 10th day of March, 2022.




                                           /s/ Estafany Foraker
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